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                          COMMONWEALTH OF PUERTO RICO
                                  LA FORTALEZA
                              SAN JUAN, PUERTO RICO


Administrative Bulletin No. OE-2016-018

      EXECUTIVE ORDER OF THE GOVERNOR OF THE COMMONWEALTH OF
      PUERTO RICO, HON. ALEJANDRO J. GARCIA PADILLA, UNDER
      ARTICLES 201 AND 202 OF LAW 21-2016, KNOWN AS THE “PUERTO RICO
      EMERGENCY MORATORIUM AND FINANCIAL REHABILITATION ACT,”
      TO DECLARE A STATE OF EMERGENCY FOR THE PUERTO RICO
      HIGHWAYS AND TRANSPORTATION AUTHORITY (THE “HTA”) UNTIL
      JUNE 30, 2016, SUSPENDING THE OBLIGATION OF THE ACT TO
      TRANSFER OR DEPOSIT IN FINANCIAL INSTITUTIONS OR ANY OTHER
      ENTITY ACTING AS A FISCAL AGENT ANY REVENUE FROM TOLLS OR
      ANY OTHER REVENUE RECEIVED, AND AUTHORIZES THE
      IMPLEMENTATION OF ANY OTHER REASONABLE AND NECESSARY
      MEASURES FOR THE CONTINUED PROVISION OF ESSENTIAL SERVICES
      TO PROTECT THE HEALTH, SAFETY, AND WELL-BEING OF THE
      RESIDENTS OF THE COMMONWEALTH OF PUERTO RICO.

WHEREAS:              On April 6, 2016, I signed Law 21-2016, known as the “Puerto Rico
                      Emergency Moratorium and Financial Rehabilitation Act” (the “Law”).
                      The terms that are capitalized in this Executive Order but are not defined
                      herein shall have the meaning assigned to such terms in the Law.

WHEREAS:              Article 108 of the Law establishes that during the Covered Period the
                      Governor shall prioritize the essential services over the payment of debt
                      not only to provide for the health, security, and well-being of the residents
                      of the Commonwealth of Puerto Rico (the “Commonwealth”) but also to
                      avoid further economic contraction and additional fiscal and humanitarian
                      crises which would materially worsen the repayment of Puerto Rico’s
                      bondholders.

WHEREAS:              On April 8, 2016, pursuant to Articles 201 and 203 of the Law, I approved
                      Administrative Bulletin No. OE-2016-10 ( “OE-2016-10”) to declare a
                      State of Emergency for the Government Development Bank (the “GDB”),
                      stabilize restrictions on withdrawals from the GDB and implement other
                      reasonable and necessary measures to allow GDB to continue carrying on
                      its business operations. On April 30, 2016, under Article 201 and




      I, Juan E. Segarra, USCCI #06-067/translator, certify that the foregoing is a true and accurate
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                     202 of the Law, I approved Administrative Bulletin No. OE-2016-14 (
                     “OE-2016-14”) to declare a moratorium on the payment of certain
                     obligations of the GDB and to implement other reasonable and necessary
                     measures to continue essential lending services to protect the health,
                     security, and well-being of the residents of the Commonwealth, among
                     other things.

WHEREAS:             The fiscal crisis of the Commonwealth has substantially affected various
                     public entities and instrumentalities, including, but not limited to the
                     Puerto Rico Highways and Transportation Authority (the “HTA”).

WHEREAS:             Historically, the HTA has relied on different sources of revenue and
                     liquidity for the provision of essential services to the residents of the
                     Commonwealth, which includes the maintenance and operation of the
                     roads, bridges, and highways of the Commonwealth. The reference
                     revenue and liquidity principally consists of: (1) revenue derived from
                     tolls and other charges imposed by the HTA for the use of its transit
                     facilities (in English traffic facilities) (the “Toll Revenues” and in English
                     Toll Revenues); (2) revenue received from the gasoline tax earmarked for
                     the HTA under Law Number 75 of June 23, 1965; (3) revenue received
                     from certain gasoline taxes, gas oil and diesel oil that is earmarked for the
                     HTA pursuant to Law 223 of November 30, 1995; (4) revenue received
                     from a special annual fee on motor vehicle licenses earmarked for the
                     ACT pursuant to Law 9 of August 12, 1982, as amended; (5) revenue
                     received from taxes imposed on crude oil earmarked for the HTA under
                     Law 34 of July 16, 1997(the revenue referred to in section (1) through (5)
                     under this Clause, collectively referred to as, the “Revenue from
                     Resolutions 68/98”); (6) revenue derived from taxes imposed on
                     cigarettes, fees on vehicle licenses, and surpluses from petroleum taxes
                     earmarked for the HTA pursuant to Laws 30 and 31, both passed on June
                     25, 2013 (collectively referred to as, the “Revenue from Laws 30-31”); (7)
                     liquidity from an agreement with the GDB according to which the GDB
                     issues loans to the HTA; (8) funds received by the HTA from the federal
                     Government for conducting federal highway assistance programs under
                     Title 23 of the United States Code (the “Federal Highway Revenue”); and
                     (9) funds received by the HTA from the federal Government for
                     conducting transit assistance programs




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                     under Title 23 of the United State Code (the “Federal Transit Funds”). As
                     a result of the Commonwealth’s fiscal crisis, the availability of this
                     revenue, funds and liquidity has significantly diminished in the past six (6)
                     months.

WHEREAS:             The HTA previously issued bonds under Puerto Rico Highway and
                     Transportation Authority Resolution No. 68-18, passed on June 13, 1968
                     (which authorizes and guarantees the HTA’s Highways Revenue Bonds)
                     and Resolution of the HTA Number 98-06, approved February 26, 1998
                     (which authorizes and guarantees the HTA’s Transportation Revenue
                     Bonds) (collectively, “Resolutions 68/98”). On November 30, 2015,
                     under Section 8 of Article VI of the Constitution of the Commonwealth, I
                     approved Administrative Bulletin No. OE-2015-046 ( “OE-2015-046”),
                     through which, among other things, the Secretary of the Treasury of
                     Puerto Rico was ordered to retain the revenues assigned to the HTA and
                     reallocate them to the payment of the Commonwealth’s public debt and to
                     guaranteeing essential services for the residents of the Commonwealth
                     (the “HTA’s Retained Funds.”) The principal and interest of the bonds
                     issued under the 68/98 Resolutions are guaranteed in part and are paid in
                     part from the HTA’s Retained Funds. The Toll Revenues, which are not
                     retained funds subject to OE-2015-046, also guarantee part of the payment
                     of the debt issued under Resolutions 68/98. In accordance with the 68/98
                     Resolutions, whatever excess related to the HTA’s Retained Funds and the
                     Toll Revenues after the required deposits and the repayment of services of
                     the debt shall be returned to the HTA for the payment of its expenses and
                     operations. After the approval of OE-2015-046, which orders the
                     retention of the HTA’s Retained Funds, the HTA experimented with a
                     significant decrease in its liquidity, which was exacerbated by the fact that
                     the HTA, in complying with Resolutions 68/98, continued to remit the
                     entirety of the Toll Revenues to the bond trustee for the servicing of the
                     debt issued under Resolutions 68/98.

WHEREAS:             The HTA and the GDB are parties to that certain Loan Agreement, dated
                     August 28, 2013, through which the HTA obtained a revolving line of
                     credit from the GDB (the “GDB Loan”). As a condition of the GDB
                     Loan, the HTA and the GDB granted certain Assignment and Security
                     Agreement, agree the same day, through which the HTA transferred to the
                     GDB its




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                     rights to receive the Revenue from Laws 30-31 as a way to guarantee the
                     repayment of the GDB Loan and other amounts owed to the GDB. In its
                     attempts to deal with the liquidity crisis of the HTA and to guarantee the
                     continued provision of the essential services of the HTA to protect the
                     health, security and the wellbeing of the residents of the Commonwealth,
                     the GDB and the HTA entered into an agreement through which the GDB
                     has promised to transfer to the HTA certain funds to cover the operational
                     costs and expenses of the HTA. On April 1, 2016, the GDB informed the
                     HTA that it did not have the financial capacity to continue to transfer said
                     funds, thus creating a major liquidity problem for the HTA, threatening
                     the continued provision of the essential services to protect the health,
                     security and the wellbeing of the residents of the State and placing under
                     risk the HTA’s ability to receive the Federal Highway Revenue and the
                     Federal Transit Funds.

WHEREAS:             On April 19, 2016, the HTA amended its Highway Alliance Contracts PR-
                     22 and PR-5 with Autopistas Metropolitanas de Puerto Rico, LLC (the
                     “Concessionaire”) to assign certain rights to the Concessionaire. In
                     exchange for those rights, the Concessionaire made an initial $100 million
                     (the “Initial Payment”) and will make a $15 million deferred payment
                     upon the implementation of certain multidirectional lanes or on June 30,
                     2017, whichever occurs first. In accordance with Article 17 of Law 29-
                     2009, as amended (“APP Law), the Financial Advisory Authority and Tax
                     Agency of Puerto Rico (the “AAFAF”), after consulting with the Office of
                     Management and Budget (the “OGP”), submitted for consideration by the
                     Governor a missive list of recommendations for the use of the Initial
                     Payment. The GDB also made a recommendation regarding the potential
                     uses of these funds. On May 9, 2016, after thoroughly evaluating the
                     recommendations of the OGP, the GDB and the AAFAF, considering the
                     complicated situation regarding liquidity facing the Commonwealth, the
                     GDB and other government entities, by virtue of the power granted under
                     Articles 9(g)(iv) and 17 of the APP Laws, the Governor authorized that
                     the funds be used for the payment of essential services, as proposed by the
                     AAFAF and the OGP.




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WHEREAS:               This situation has provoked a state of public emergency that warrants the
                       declaration, under Article 201 of the Law, for a state of emergency for the
                       HTA and suspending certain obligations of the HTA to guarantee the
                       benefit of essential services related to the health, safety, and well-being of
                       the residents of the Commonwealth. This state of emergency shall have a
                       brief duration stated herein and shall not affect the collection rights of any
                       creditor of the HTA, as the trustee of the bonds issued under Resolutions
                       68/98 has received and has at its disposal sufficient funds to pay its debts
                       until next year.

WHEREFORE:             I, ALEJANDRO J. GARCIA PADILLA, Governor of this
                       Commonwealth, under the powers inherent to my position and the
                       authority vested in me by the Constitution of the Commonwealth, hereby
                       provide for the following:

ONE:                   In accordance with Article 201 of the Law, I hereby declare a state of
                       emergency for the HTA and state an Emergency Period for the HTA until
                       June 30, 2016, so as to protect the health, security, and well-being of the
                       residents of the Commonwealth.

TWO:                   This Executive Order does not declare an Emergency Period for any
                       Government Entity except the HTA and does not impose a moratorium on
                       any obligation of the HTA. This Executive Order does not authorize any
                       Government Entity to utilize funds that have been deposited prior to the
                       date of this Executive Order with a trustee or other custodian for the
                       payment of the Covered Obligation nor does it pretend to prevent the use
                       of said funds already deposited for the payment of said Covered
                       Obligation.

THREE:                 Pursuant to Article 201 (d) of the Law, I hereby order the suspension of all
                       obligations of the HTA to transfer to, or deposit with, any financial
                       institution or authority acting as a fiscal agent under any resolution by way
                       of which any bonds of the HTA in circulation have been issued, the Toll
                       Revenues, and any other revenue assigned or received by the HTA. The
                       foregoing includes Toll Revenues corresponding to the bonds issued under
                       Resolutions 68/98, without regard to when said funds were collected.




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                        I hereby authorize the HTA to utilize the Toll Revenues and whatever
                        other revenue assigned or received by the HTA for the continuation of
                        provision of the essential services for the protection of the health, security,
                        and well-being of the residents of the Commonwealth. This Executive
                        Order does not affect the funds necessary for the payment of the stated
                        obligations in this paragraph that have been transferred or deposited by the
                        HTA to the pertinent trustees to account for the outstanding payments
                        until next year.

FOUR:                   Pursuant to Article 201(b) of the Law, no actions shall be commenced and
                        no claims or proceedings shall be initiated or continued in any court of any
                        jurisdiction that is related to or arises under a Covered Obligation of the
                        HTA, including actions or proceedings related to the obligations stated in
                        the paragraph THREE of this Executive Order.

FIVE:                   The Executive Director of the HTA is ordered to submit a weekly report to
                        the Governor itemizing the cash flow of the entity.

SIX:                    SEVERABILITY. This Executive Order shall be interpreted in such a
                        way so as to maintain its validity, to the extent possible, in accordance
                        with the Constitution of the Commonwealth and the Constitution of the
                        United States. If any clause, paragraph, subparagraph, provision, or part of
                        this Executive Order is declared unconstitutional by any court or
                        jurisdiction, the order issued by said court to that effect shall not affect or
                        invalidate the remainder of this Executive Order. The effect of said order
                        shall be limited to the clause, paragraph, subparagraph, disposition, or part
                        of this Executive Order declared unconstitutional and only with respect to
                        the application of the same to the obligation subject to said dispute.

SEVEN:                  RATIFICATION OF OE-2016-10 AND OE-2016-14. OE-2016-10, as
                        amended by the OE-2016-14 and the OE-2016-14 is hereby ratified and
                        confirmed in all aspects, as modified by this Executive Order, and it is
                        hereby provided that both shall expire at end of the Covered Period.




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EIGHT:                  REPEAL.       Any other Executive Order that is fully or partially
                        incompatible with this order is hereby repealed to the extent to which such
                        incompatibility exists.

NINE:                   EXPIRATION AND PUBLICATION. This Executive Order shall enter
                        into force immediately and shall remain in force until (i) June 30, 2016 or
                        (ii) the date upon which this order shall be revoked in writing by the
                        Governor, whichever occurs first. It is ordered that this shall be published
                        and disseminated as broadly as possible.

                        IN WITNESS WHEREOF, I hereby issue this Executive Order under my
                        signature and stamp in this Great Seal of the Commonwealth of Puerto
                        Rico, San Juan, Puerto Rico, today, May 17, 2016.


[affixed seal]                                                [signature]
                                                         ALEJANDRO J. GARCÍA PADILLA
                                                                      GOVERNOR


Promulgated pursuant to the law, today May 17, 2016.



[signature]
VÍCTOR A. SUÁREZ MELÉNDEZ
DESIGNATED SECRETARY OF STATE




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